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                                        UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF NEW YORK


DEBORAH DONOGHUE,                                         :
                                                          :
                                    Plaintiff,            :
                          v.                              :
                                                          :
ECOSPHERE TECHNOLOGIES, INC.,                             :   Case No.: 16-cv-09115-RA
                                                          :
                          Nominal Defendant,              :   ECF Case
                                                          :
                                    and                   :
                                                          :
WILLIAM O. BRISBEN, and                                   :
BRISBEN WATER SOLUTIONS, LLC,                             :
                                                          :
                                    Defendants.           :
                                                          :


      DEFENDANTS WILLIAM O. BRISBEN’S AND BRISBEN WATER SOLUTIONS,
      LLC’S NOTICE OF MOTION TO DISMISS FOR IMPROPER VENUE UNDER 15
                              U.S.C. § 78aa OR,

                                                  IN THE ALTERNATIVE,

        MOTION TO TRANSFER THIS ACTION TO THE SOUTHERN DISTRICT OF
                       FLORIDA UNDER 28 U.S.C. § 1404


             PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, dated

January 27, 2017; and upon the Affidavit of William O. Brisben, dated January 24, 2017, and the

exhibits annexed thereto, Defendants William O. Brisben (“Mr. Brisben”) and Brisben Water

Solutions, LLC (“Brisben Water”) (collectively, the “Brisben Defendants”) will move this Court

before the Honorable Ronnie Abrams, United States District Judge, at the United States

Courthouse, located at 40 Foley Square, New York, NY 10007-1312, at a date and time to be set

by the Court, for an Order pursuant to Federal Rule of Civil Procedure 12(b)(3) dismissing the




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Complaint filed by Deborah Donoghue (“Plaintiff”) on November 23, 2016 (“Compl.”) (ECF

No. 3), for improper venue under 15 U.S.C. § 78aa; or, in the alternative, for an Order

transferring this action to the Southern District of Florida under 28 U.S.C. § 1404.



Dated: New York, NY                           HOGAN LOVELLS US LLP
       January 27, 2017                       By: /s/ Dennis H. Tracey, III
                                                  Dennis H. Tracey, III
                                                  Derek Musa
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                                                     Attorneys for Defendants William O.
                                                     Brisben and Brisben Water Solutions, LLC




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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been duly served upon the following by
the Court’s CM/ECF E-Filing System this 27th day of January, 2017:

Miriam Tauber, Esq.                             David Lopez, Esq.
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Attorney for Plaintiff                          Attorney for Plaintiff


                                                   /s/ Dennis H. Tracey, III
                                                   Dennis H. Tracey, III




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